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 3
 4                                 UNITED STATES DISTRICT COURT

 5                                      DISTRICT OF NEVADA

 6                                                 ***

 7    UNITED STATES OF AMERICA,         )
                                        )
 8               Plaintiff - Appellee,  )                Case No. 2:12-cr-453-APG-GWF
                                        )
 9    vs.                               )                USCA No. 13-10540
                                        )
10    REBEKAH FOUQUET,                  )
                                        )                ORDER
11               Defendant - Appellant. )
      ________________________________)
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             Pursuant to order of the United States Court of Appeals for the Ninth Circuit in the
14
      above referenced case, Chris T. Rasmussen, Esq.’s motion to withdraw as counsel of
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      record and to appoint new counsel was granted (Dkt. #132). Therefore;
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             IT IS HEREBY ORDERED that Mario D. Valencia, Esq. (1055 Whitney Ranch Dr.
17
      Suite 200, Henderson, Las Vegas, NV 89014, phone number 702-940-2220) is appointed
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      as counsel to represent defendant - appellant Rebekah Fouquet.
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             IT IS FURTHER ORDERED, pursuant to the order of the United States Court of
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      Appeals for the Ninth Circuit, the Clerk of Court is directed to notify the Clerk of the Ninth
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      Circuit Court of Appeals of this appointment at counselappointments@ca9.uscourts.gov.
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23
             Dated this 5th day of November, 2013.
24
             Nunc Pro Tunc Date: November 5, 2013.
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                                                         ___________________________
27                                                       Andrew P. Gordon
                                                         United States District Judge
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